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ea UNITED STATES DISTRICT COURT
OAV VA
DISTRICT OF ARIZONA
United States Of America CASE NUMBER: \\ ~ AS&A WS
Vs. - .
° CRIMINAL COMPLAINT

Jesse D. Moquino

 

_I, the undersigned complainant, being duly sworn, state that the following is true and correct to

the best of my knowledge and belief:

On or about September 11, 2019, in the District of Arizona, within the confines of the Salt
River Pima-Maricopa Indian Community, the defendant, JESSE D. MOQUINO, an Indian, willfully,
deliberately, maliciously, and with premeditation and malice aforethought, did unlawfully kill G.Z.
in violation of 18 U.S.C. §§ 1153 and 1111.

I further state that I am a Task Force Officer, assigned to the Salt River Police Department
and that this complaint is based on the following facts: | |

See Attachment B — Statement of Probable Cause Incorporated By Reference Herein.

 

 

 

Continued on the attached Apset and made a part hereof: xXlYes C1 No
AUTHORIZED BY: by AUSA Kdped Brooks
Cenia Kila, Salt River Police Department VLA
Name of Complainant — Signature of Complainant

Sworn to before me and subscribed in my presence

/ Zo/ Lol q at Phoenix, Arizona

City and State

Date

&
HONORABLE EILEEN S. WILLETT y
United States Magistrate Judge

Name & Title of Judicial Officer - Signature of Judicial Officer

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Cenia Kila, being duly sworn, depose and state as follows:

INTRODUCTION

1. The facts of this case, as more fully detailed herein, are that on September 11,
2019, JESSE D. MOQUINO (MOQUINO), an Indian, committed the crime of First Degree
Murder in violation of Title 18 U.S.C. Section 1111, on the Salt River Pima-Maricopa Indian
Reservation.

2. I am certified peace officer employed by the Salt River Police Department
since July of 2007. I have been assigned to patrol and the gang suppression unit, and as of
2017 have joined the Federal Bureau of Investigation’s Safe Trails Task Force (STTF). My
duties on the gang unit have consisted of investigating gang related crimes that occur within
the Salt River Pima-Maricopa Indian Community, Maricopa County and the State of
Arizona. I have received training at the Mesa Police Department Academy and have
attended numerous investigative schools/trainings over my career, specifically geared to the
investigation of violent crime, investigations and gang crimes. In my current assignment as
a Task Force Officer with the STTF I primarily investigate violent crimes that occur on
Indian Reservations and in communities in the Phoenix area. I am authorized to investigate
violations of the laws of the United States, collect evidence in cases in which the United
States is or may be a party in interest, and execute warrants issued under the authority of the
United States. |

DETAILS OF THE INVESTIGATION |

3. On September 11, 2019 at approximately 6:41 p.m., Salt River police received
a 911 call from a witness who identified herself as Cynthia Moquino (Cynthia Moquino).
Cynthia Moquino stated that a female was not alive in her residence and was on the ground
in the bathroom. Salt River Police responded to Cynthia Moquino’s residence located within

the confines of the Salt River Pima-Maricopa Indian Community. After arriving, Cynthia.
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Moquino directed law enforcement inside of the residence. Officers immediately observed
the victim, G.Z., laying in the shower on the floor, shower curtain closed; G.Z. appeared to
be stuffed into an air mattress and wrapped in sheets. After cutting the tightly wrapped
sheets, law enforcement observed a large deep laceration to the back of G.Z.’s head. The
Salt River Fire Department pronounced G.Z. deceased at 6:40 p.m. Officers also noticed a
large pool of blood on the floor in the living room area in between the couches and table, a
mop and mop bucket were also observed in the area.

4, Cynthia Moquino, the owner of the residence, stated that she had come home
around 6 p.m. and noticed G.Z.’s vehicle, described as a tan Scion parked in the front yard
(which had been there since the day prior). Cynthia Moquino stated she entered her
residence, and passed first through the living room and then went straight to her bedroom.
Cynthia Moquino stated she observed the couches and table in the living room to have a
large sheet over the couch and table and assumed that the kids (MOQUINO’s two children)
were making a fort/tent and didn’t touch it. Cynthia Moquino stated that when she went into
her room, where her disabled husband and his caretaker, Jauanita Walker (Walker) were.
Cynthia Moquino stated she stayed in the room for approximately 30 minutes and then
exited. Cynthia Moquino stated when she exited her room, she was walking back towards
the living room area and observed MOQUINO standing near G.Z; she stated that she could
only seeing G.Z.’s feet, but she was wrapped up in sheets so she couldn’t see her face and

observed blood on the ground near the couches/table. Cynthia Moquino stated she freaked

_ out and yelled “Oh my gosh! What is that!” MOQUINO replied: “Don’t do nothing! Don’t

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call the police!” Cynthia Moquino stated she ran outside because she was so traumatized
and when she came back inside, G.Z. was gone, but she saw blood towards the hallway close
to the back bathroom. Cynthia Moquino screamed to MOQUINO “Where is it?!” and he
replied back “Don’t worry about it! It’s out, I’ll take care of it!” Cynthia Moquino stated

MOQUINO also had a mop and was trying to clean up the blood. Cynthia Moquino stated

_she had called 911 and told MOQUINO she was calling the police and he left in the brown

Scion belonging to G.Z. with his two children.
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5. Law enforcement interviewed Cynthia Moquino about any information she
had prior to seeing MOQUINO with the body. Cynthia Moquino stated she also heard a
noise earlier in the morning on September 11th at approximately 1 am. She described
hearing a loud thud somewhere in the house. Cynthia Moquino exited her bedroom and
noticed her front door was open, went outside and didn’t see anyone but saw G.Z.’s car
parked in the front. Cynthia Moquino stated she went back inside and went to sleep and
didn’t think anything of it.. Cynthia Moquino stated she had not seen G.Z. since the previous
day but stated her vehicle had been there since the prior day. Cynthia Moquino stated the
only persons inside the residence at the time she called the police besides her were Walker,
her disabled husband, MOQUINO and his two kids.

6. Law enforcement interviewed Walker, who stated that she arrived at the
residence at approximately 3 p.m. on September 11th, to take care of Cynthia Moquino’s
husband. Walker stated she mainly stays in Cynthia Moquino’s room with her husband, but
would exit the house every once in a while to smoke a cigarette outside. Walker stated when
she was there, she did observe the couches and table to have the sheet over it but also
assumed the kids were making a tent/fort and didn’t pay much attention to it. Walker stated
that MOQUINO was inside the house and that Ruben Moquino and Jon Moquino were also
inside the house. Walker stated she was unsure what time Ruben Moquino and Jon Moquino
had left but stated it was prior to her hearing Cynthia Moquino yelling at MOQUINO.
Walker stated the last time she went to smoke outside, Cynthia Moquino asked her if she
could watch the kids who were playing outside. Walker stated she then heard Cynthia.
yelling at MOQUINO saying she had to call the police but never reentered the residence and
did not see the body.

7. Officers made contact with Richard Lopez (Lopez) who lives next door to
Cynthia Moquino and stated he had seen G.Z. sitting in her car, parked in the driveway of
Cynthia Moquino’s home, sometime before 9 p.m. on September 10th. Lopez stated that
G.Z. was MOQUINO’s friend. Lopez stated minutes prior to police arrival on the 11th, he

had seen MOQUINO outside talking to Cynthia Moquino. Lopez stated he then saw
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MOQUINO jump into G.Z.’s vehicle with his two kids and speed off from the house very

quickly. Contact was also made with Lopez’s son Adrian, who stated he saw MOQUINO
earlier and MOQUINO had made the comment to him that G.Z. was trying to drug/poison
his kids and stated that MOQUINO was on methamphetamines and was acting weird and
didn’t believe him. |

8. Contact was made with Passion Schurz (Schurz), who stated she was the
current girlfriend of MOQUINO. Schurz stated at approximately 7 p.m. on September 11,
2019, she received four phone calls from an unknown phone number and when she finally
answered, it was MOQUINO. Schurz stated that MOQUINO asked her to come pick him
up from an address in Scottsdale, which was approximately a two minute drive from crime
scene. Schurz stated when she arrived, she observed MOQUINO with his two and he told
her to drive him to his brother’s apartment in Mesa. Schurz stated MOQUINO looked
paranoid and stated the police were coming for him. Schurz stated that MOQUINO’s
children appeared to be very scared. Schurz stated MOQUINO would not tell her why he
was running from the police. Schurz told officers that MOQUINO was seated in the back
behind the driver’s seat of her vehicle. Police later observed what appeared to be a red
droplet stain in the area where MOQUINO was sitting. The vehicle was later impounded to
be processed.

9. G.Z.’s abandoned vehicle was located at a residence and parked in the front
yard and was unlocked. I made contact with Scott Donahue, who stated around 7 p.m. on
September 11th, an unknown male came knocking on the front door. Donahue noticed he
had driven a tan Scion and had his two kids with him. Donahue stated that the male used
his house phone to make some calls and when he showed me the calls, one call was
confirmed to have been made to Schurz. Donahue stated he observed a blue van come and
pick up the male and the two kids from his residence. This blue van matches the description

of Schurz’s vehicle.

 

 
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10. On September 13, 2019 at approximately 5 p.m., I made contact with Ruben
Moquino. Ruben Moquino stated he was at Cynthia Moquino’s house at most of the day on
September 11th. Ruben stated that Gia’s vehicle was the tan Scion and it had been parked
at Cynthia’s house all day. Ruben stated at approximately 1 a.m. on the 11th, he was
sleeping in his room and was awakened by MOQUINO and G.Z. arguing in the living room
area. Ruben Moquino stated he was annoyed that they were so loud, so he called his mother
to come pick him up around that time. Ruben Moquino stated as he walked out to the side
door to meet his mother, the house was dark but could identify MOQUINO’s voice and also
heard a females voice and assumed it was G.Z. because that was the last female he was with.
Ruben Moquino stated they were in the living room last when he left the residence and that
MOQUINO appeared to be upset for unknown reasons.

11. Office of the Medical Examiner Autopsy preliminary results concluded that
the victim, G.Z., had a large laceration to the upper back of the head resulting in a broken |
skull with brain matter/skull fragments protruding. Zamora also had a small stab wound to
the back of the neck. It appeared that G.Z. had small stab wounds on her neck from a Phillips
head screwdriver. Law enforcement located a Phillips head screwdriver in Cynthia
Mogquino’s residence in a bucket of bleach.

_ 12. Inthe evening September 19, 2019, law enforcement located MOQUINO and
arrested him without incident.
| 13. MOQUINO is an Indian, specifically, he is an enrolled member of the Salt
River Pima-Maricopa Indian Community.
CONCLUSION
Based on the foregoing, I believe that there is probable cause the defendant

committed the crime of First Degree Murder in violation of Title 18 U.S.C. Section 1111.

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I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

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Task Force Officer C. Kila
Federal Bureau of Investigation

Subscribed and sworn to this A day of September, 2019.

HONORABLE EILEEN S. WILLETT
United States Magistrate Judge

 

 
